      Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 1 of 33




                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA               CR. NO. 4:23-CR­163

           v.                             (Chief Judge Brann )

JEREMY PAULEY,                         (electronically filed)
                       Defendant

                         PLEA AGREEMENT

     The following Plea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above·

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.

A. Violation(s), Penalties, and Dismissal of Other Counts

   1. Waiver of Indictment/Plea of Guilty. The defendant agrees to

       waive indictment by a grand jury and plead guilty to a felony

       Information, which will be filed against the defendant by the

       United States Attorney for the Middle District of Pennsylvania.

       That Information will charge the defendant as follows: Count

       One charges a violation of Title 18, United States Code, §§ 371

       and 2314, Conspiracy to Commit Interstate Transportation of
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 2 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 3 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 4 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 5 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 6 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 7 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 8 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 9 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 10 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 11 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 12 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 13 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 14 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 15 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 16 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 17 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 18 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 19 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 20 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 21 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 22 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 23 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 24 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 25 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 26 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 27 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 28 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 29 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 30 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 31 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 32 of 33
Case 4:23-cr-00163-MWB Document 3 Filed 06/14/23 Page 33 of 33
